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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )                     8:11CR114
       vs.                                    )
                                              )                       ORDER
GILBERTO CHAVEZ-MUNOZ,                        )
GERARDO CHAVEZ-MUNOZ,                         )
                                              )
                      Defendants


       This matter is before the court on the defendants’ unopposed Motion to Extend Time
to File Pretrial Motions [38] and [41]. Upon review of the file, the court finds that an
approximate 15-day extension should be granted.

       IT IS ORDERED that the unopposed Motions to Extend Time to File Pretrial Motions
[38] and [41] are granted, in part, as follows:

       1.    The deadline for filing pretrial motions is extended to May 27, 2011

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between May 12, 2011 and May 27, 2011, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED this 12th day of May, 2011.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
